                  Case 1:18-cv-08607-LGS Document 42 Filed 11/05/20 Page 1 of 1
                                                  U.S. Department of Justice
         [Type text]
                                                                 United States Attorney
                                                                 Southern District of New York
                                                                86 Chambers Street
                                                                New York, New York 10007
                                                                   November 4, 2020

         VIA ECF
         Honorable Lorna G. Schofield
         United States District Judge
         United States District Court
         40 Foley Square
         New York, NY 10007

                 Re:      The New York Times Co. v. Federal Communications Commission,
                          18 Civ. 8607 (LGS)

         Dear Judge Schofield:

                 This Office represents defendant Federal Communications Commission (“FCC”) in the
         above-referenced Freedom of Information Act case brought by plaintiffs The New York Times
         Company, Nicholas Confessore, and Gabriel Dance (“Plaintiffs”). I respectfully write to request
         an extension of the deadlines for filing a joint status letter regarding the potential resolution of
         Plaintiffs’ request for attorneys’ fees, and for briefing Plaintiffs’ motion for fees if the parties are
         unable to resolve the issue, as so-ordered by this Court on October 6, 2020 [Dkt. No. 40].
         Because FCC received Plaintiffs’ fee demand and supporting documentation on October 21,
         2020, the extended deadlines are requested to give those with authority within FCC more time to
         review and authorize any potential settlement. This is the FCC’s first request for an extension of
         the joint status letter and briefing deadlines for Plaintiffs’ motion for fees. Plaintiffs’ counsel
         consents to this request. Should the Court grant this request, the parties propose that the current
         deadlines be extended as follows:

                      Joint status letter regarding potential settlement of attorneys’ fees: November 20,
                       2020
                      Plaintiffs’ motion for fees: December 9, 2020
                      FCC’s opposition to Plaintiffs’ fee motion: January 6, 2021
                      Plaintiffs’ reply in further support of their motion for fees: January 20, 2021

                 We thank the Court for its consideration of this request.
The application is GRANTED. The parties' above                        Respectfully submitted,
proposed schedule is adopted as an Order of the
Court. The deadlines listed in the Order at Dkt. No.                  AUDREY STRAUSS
40 are hereby vacated.                                                Acting United States Attorney

SO ORDERED.                                                  By:       /s/ Tomoko Onozawa
                                                                      TOMOKO ONOZAWA
Dated: November 5, 2020                                               Assistant United States Attorney
       New York, New York                                             Tel: (212) 637-2721
                                                                      Fax: (212) 637-2686

         cc: All Counsel of Record (via ECF)
